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4
     Attorney for Defendant DESIDORO SANCHEZ SOLORZANO
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6
                                   IN THE UNITED STATES DISTRICT COURT
7                                FOR THE EASTERN DISTRICT OF CALIFORNIA
                                          FRESNO DIVISION
8
     UNITED STATES OF AMERICA,                              )       Case No. 1:11-cr-00449-AWI-BAM
9                                                           )
                                    Plaintiff,              )
10                                                          )       STIPULATION AND
            v.                                              )       ORDER TO CONTINUE
11                                                          )       JUDGMENT AND SENTENCING
     DESIDORO SANCHEZ SOLORZANO,                            )       HEARING
12                                                          )
                                    Defendant,              )
13                                                          )

14
     TO THE UNITED STATES OF AMERICA AND ITS ATTORNEY OF RECORD,
15
     KATHLEEN SERVATIUS, A.U.S.A.; ALL COUNSEL ENTITLED TO RECEIVE
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17   NOTICE; THE CLERK OF THE ABOVE COURT; AND THE HONORABLE JUDGE,

18   PRESIDIING IN SAID COURT:

19          IT IS HEREBY STIPULATED by and between the parties hereto through
20
     their respective counsel, Kathleen Servatius, Assistant U.S. Attorney, attorney for
21
     plaintiff, and Arturo Hernandez-M., attorney for defendant Desidoro Sanchez
22
     Solorzano, that the previously scheduled judgment and sentencing date of November 3,
23
     2014, be vacated and the matter be reset for November 17, 2014.
24

25          This request is made jointly by the government and defense in order to permit

26   time for continued preparation, which is currently in progress to complete all facets of
27   readiness for settlement or trial of this case. The parties agree that the interests of
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                                                                1
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1    justice served by granting this continuance outweigh the best interests of the public and
2
     the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). Further, the parties agree
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     that time within which the trial of this case must be commenced under the Speedy Trial
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     Act should therefore be excluded from November 3, 1014, up to and including
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6    November 17, 2014 under 18 U.S.C. § 3161(h)(7)(A).

7                                                          Respectfully submitted,

8
     Date: October 28, 2014                                 /s/ Kathleen Servatius
9                                                          KATHLEEN SERVATIUS
10                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff U.S.A.
11

12   Date: October 28, 2014                                 /s/ Arturo Hernandez
                                                           ARTURO HERNANDEZ
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                                                           Attorney for Defendant
14                                                         Desidoro Sanchez Solorzano

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              Case 1:11-cr-00449-DAD-BAM Document 133 Filed 10/29/14 Page 3 of 3


1                                               ORDER

2             The Court, having received, read, and considered the stipulation of the parties, and
3    good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its
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     order. Based on the stipulation of the parties and the recitation of facts contained therein,
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     the Court finds that it is unreasonable to expect adequate preparation for pretrial
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     proceedings and trial itself within the time limits established in 18 U.S.C. § 3161. In
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8    addition, the Court specifically finds that the failure to grant a continuance in this case

9    would deny defense counsel to this stipulation reasonable time necessary for effective

10   preparation, taking into account the exercise of due diligence. The Court finds that the
11   ends of justice to be served by granting the continuance outweigh the best interests of the
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     public and the defendants in a speedy trial.
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              The Court orders that the time from September 10, 2014, up to and including
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     October 8, 2014, shall be excluded from computation of time within which the trial of this
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16   case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §

17   3161(h)(7)(A). It is further ordered that the November 3, 2014, judgment and sentencing

18   hearing shall be vacated and continued until November 17, 2014, at 10:00 a.m.
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20   IT IS SO ORDERED.

21   Dated:      October 29, 2014
                                                       SENIOR DISTRICT JUDGE
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